iN THE UNITED STATES DISTRICT COuRT FER
TRE MIDDLE DISTRICT OF TENNESEE

JAMIE CRUZ,

Plamhtt |
\ f *
V CAVVL ACTION No, 3 '/4 -Lv-623
| Tur TWial Demand

SONY MUSIC ENTERTAINMENT (RCA
RECORDS), VALORY MUSIC GROUP |
(BiG MACHINE RECORDS), VIACOM
MEDIA NET CATV & VHA), MILEY CYRUS) | RECEIVED

MIKE Witi| MADE iT} ~ IN CLERK'S
Defendants OFFICE

| OCT 34.2014
U.S. DISTRICT COURT

| MID. DIST. TENN,

AMENDED COMPLAINT

CL. Jotyodutton.

This iS a coornight inkingement athon against both must exeeuhVes and enter-
tainer (5) for their Uewthotived rertoducha dstibuton > criler performance of Pladrh fh
Mmudical works fe fivuciol Gain. Plainhl Seeds monetary damages » declavatord
ancl inivackve relief axarnst defendants in ther? individual Maeacties, Plainhtt
further cresewes the witht to sec crimiAal penalties Pursuant fo the federal —
eta Aet of 1976.

. Gucisdieypn

1. This Honeioble tout has Sunsdictin ef this aetbn Hut raises a “ Federal
Gueston" Pusvant t the Vsdecd StattS ConSttvhon, Athele Tr, Sechon 2 3 Title
2G US.t.A & 1331, Gnd the ooteight Act of 1974. !

Case 3:14-cv-00623 Document 89 _ Filed 01/26/15 Page 1 of 6 PagelD #: 271
(1)
TIL. Porhes

2. Piainhtt, Jame Cruz, is ewtfenHy an jacarcevated inmate af the state

forrectional Instvton, Heatinaclon Sevuind a state Sentence of 3b b years that
is > oie Pelotlas 2otH. | ait

Diainntt 's vneanveraction ft thw Penisl viva cu tent ot Cevfechons he “hus hen
mentallYy cehabriitated s aid now is an Asecing sond-whters bein? tue genw'ae

livthor of Sons "We Carit StF" that ts the Subject of this baeyGaht mbnze-
Ment Gedy.

3. DeRndant "Sony music Entertunment" Chereinabder “Sony") was the distri
hvitc af the infiinged muSival werkS, Mc fyancal faa,

4. Delendant “Valo! music Grou" is tre parent comeany of “Bry Machine
Recwds ", beas the inital mnfinger of Planttts musical works for tnanaal
Gains .

5. Defendant “Viatom Mecha Met“ Cnevenafer “Vieton) is the neiwork ofovider
at . both VMN 2 anc rv fable Statbns that jrolded the venue for tie UN-
avihorracel Performance of Planhtfs music works for fimuncal gain, ond thew
Pvbitalll false rerresentations as do the authorshie of Plant tte musical
WOrKS

i. Deencant “Mike Wit | Made it" is aq muSit Producer who was ewieloved bd

RCA "peti, who Ffaueulenty rewresented that he was the avthor of Planhtf's
muSical workS, On A VAL ermdrm, Fucther Seine PialinhfF’ world as is own
for ffnanual ain. .

1, Defendant “miley Cycvs" is dhe achoal vnwthonrecl werformer of Plaint' ffs
musical works om the MTV cable stahbn for Ayvacal gan,

& All dekndanls ave Sded ja ther indtvicwal cutacib'es,
TW. FACS

9. Ducint Piunstts mnearecrahbon he has found Sslitude evncl Hanaui li'hd in
the dt of sontweihas. This including music. and lyrits. Plunhte nas

amassed a (arse Cataloy of Songs in cifferent genres of muSres Meluding;
Gis Subiect fo this athon, the Song "Wwe Cant Stor. 4

1. In the month and Year of Mowtmber doi Platt seustht toPyn ght ?ro-
Hthon ot eng Wwe Git SioP”, bY Allowing an we procedures of the |
Loeunght Mem OFF te in weshinghn, 0.0.3 submithne a comeleted aprlraton
fom, derasit » dnd fee Creavest fr sreual reel), Olu tt Weare) Nothind further,

ord was left do assume his owtenal was reFistrecls and he wos awaiting Als
poy. aht tevftate,

Case 3:14-cv-00623 Document 89 Filed By Page 2 of 6 PagelD #: 272
2

n. Atte forwarding all necessari waverwork tr the loPinght Office as
Prescribed bY iam, and nit retlening a reseonse for Gamma months » Plainhtf
desiverl ts ShdP his Musical work Seekiny an interested Purchaser of the
Sint "We Cant Sto") this encomeassing the lyrics and muse to the sont,

i2, In the yeer of Sanvard A0lA = Pliinhff mailed a tery cf the Song
"we (ant Sfop" to Dekindanit * Big Machine Retods") with an evelitt dis
Claimer that the sone wes fof Sales and any vePloduchons disttibuton, or other-
wise wes Uncwthoized by PlanhFt. Plaihtf further made oleae that Ploinn Fe
Was the Sole avthor of the fines ond Producer of the weaken nwsc th the
Sind. Plunhft retievecl No response of intent to puichuse Ws work bY Bi¥
Mathine ReeOrds.

i3. [+ wasnt unbl August: 2018 ads Phainhtf Sat in his dell wafehiny the
Video Music AwardS (vmA), fp his ver horror avd disbelief, Defendant Miley Cuts
Os A Guest aereatance, was verfimind PlainhthS Sone “We Can't Ste" almost
word for word, toveled to Plainhff's very own writen music. byrus never sought
6t gained PlainhtFS Consent te Lerheron his Song nor MSc at the VMA autuels,
or an\wheve else for that mater.

4, WeecllesS 42 SAY, PiNhtS Sone whs consideved a Séush hit. Plainh tes
At wos combled on Qyrus’ss GB album “Ban#erz” tat went on to net
millons of dots. The sont as a sMele also netted mitlionS as welly and it
is believed 4 Awe since been verhouned by Curvs numerevs times; Possrbly
in ternabbpnally, - a
» (5. Atter said Performance, Plainhtt wiett the Copatight CMiee iA washing fon )
D.C.5 ingwiring as fo tne terthcate Ar his muscal work that he had vet to
recieve afier following all elocedures of the Coeinght ofa almost C2) years
Precedings the catiwthorised Perfoymante cf Cyrus.

ib. In the bopintht OPEce’s response, Plaiahtt learned that nts registration
Gf the sone "We fant She” Aad heen "refiSed "> wthovt ea further eve lanatodl,

(7. Phiohtt Sled suk me Pebrvar: @,Q0i4 that GiSed Quite a buzz in the
music iniUSHY and media. ConSeiventy, the str exposed Carus and these
aivselY associated ww.th the inftcngement to alot of neGative Publicity.

% in an effechve but «tegal Coaseiratorial eHort of damage Cont! »
Dendant Mike will | nade H aPreated on DeRndant Viktom's Network, MTV

chau ra the POIAM "Miley Cus moverrent" iA 24,05 a Woidit of RCA
recouls,

Case 3:14-cv-00623 Document 89 _ Filed 01/26/15 Page 3 of 6 PagelD #: 273
Ki. the show ® lage part was surrounded avoual the Sony “We Cant She" and
VS offin.

a0. On the Shows Deknda Mike wall) Made tes kenowrHy made false veeresen tris
thet he was in foet the dive esemer avthor oF Song “we tant She” even
aoins as far to imply thal he weit fhe Seng esecciaily for Cyrus) and
witn he esesented to Aer And She Sang the Songrhe ienew it was an
orgeuue ft, This deRadant’s wvbht averments ave nothing fess than fraud,

ai. Plainhtt reserves the mht i amend the ComPiamt as fachs owe
unccvered thvevdh the ddcoveY ffocess.

W. CAUSE DF ACTION

aa. Defendant Sony revriddced and distibtee Plainhfhs musical worics nationally /
nkrAahonally fac Hyancial #ain, The rePlodwehyn ancl disinbuhbon was vA-
Guthot:zed lv Plants not did Plarnt ff wioy any af tHe profits from
Shi rePloductitn and Astibuiion. .

93. defendant Valory music Grou hal \irhal osSessi‘on of FPlainh ths musical
Works; who 1 turns eather Sold o€ forwavded Such tp RCA Retords/ mike
Will | Mave it for Sale wtnoit Planhths awthonzatbn,

44, Delendunt Viatom vlovided the Venve for the unadihonred performance
by (CYrus of ihe Son% we fant S09" on therr Cable channel VAL) dusiny
the Video Music AwavdS ia Avtus¢ 201%. Dekndent Vitcon also Provicled the
venue for tto-defendunt Mike wil | Mace it to male Lyaudolent rervesen-
Fiahons as te his GvthorshiP ef Sone we CantSte.

a5. Defendant Miley CUrus Performed the Sony “Wwe GNtsie”" without Plumb 'ffs
avihovaahon at tie Vides music Awards in Aveust 2613, and possi bly
Shil performing the Sons to dus day without Plainh#s avihotiwhon for 4yvancial
Fin.

Db. Defendant Mike wit | Made Hts wade tube stolemonts falsely revvesenkng that
he ies tha awthor of Sant “he Wnt she"; knowing sad Statement wos false,
Hhaveby Nlegally Slamins ownershie. Tis defendant further said Sorc) Son# to
Dektindant Curves without Planhtts awthorrahon.

27, Ail defendants i bontert entated in a bofSAvacy fo pubivcully further
false vepresentahoas that PlunhH was not He avitor oP sone “we lalt Swe")
eve adiagy and assisting one another in the Cé'minal theft of Plats
htitectial Pra rer f "

Case 3:14-cv-00623 Document 89 Filed Oi? 6/15 Page 4 of 6 PagelD #: 274
WE. Reliet

29, Atwnhle seecS A dechuat™ sveIment that the wnwthorited rerhenance s
rerloduchion didi bon dad illegal claimed acthorshie of Ais nWSical Work &
WaS MN Violatovi of the Copyright Act of [976.

a9, An prelimna/Permanent rnivaction evusiaing oefendants and their Associctes
from continund to Perform, ePloduce, distntuie s andl claim authorshie and
Ownershiie of fhe Sane "le Cant ste.”

0. Comversatocy cemares avcunst each dendamts that inches byt not fdmited
fo? Fuil monetary amount of the Male of Sent “we Can't ste! with Sabvn™
MSE F 100% YUNG ES; masress and evbishing to Son¢“We Cant Stee" beng
arelved reHdachVell 7 monetuy percentaxe of the @mmo(aal Adverhsind Sales
Space of MTV EVAL auint the wndwtholized performance of | we Can't Shes
monet Perceninge of tha Commartral advertsiah sales space at MTV duane
PoTam Nmled OyrvS movement’) 24e...

3i. Anchve dormGeS against each defendant.

32. ANN bther veWet +d Horvrable lourd may deom Jvst and aprropnate,

VERIFICATION

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hare is true tnd covcect +o the best of my eeGanal itndwlecbye > in tirmabhon
anl/or belief.

Date: Le fay /icl At (AE
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a iithngdon, PA 1a eS4-itr

Dare: _/o/22 [14

Case 3:14-cv-00623 Document 89 Filed oYeg/is Page 5 of 6 PagelD #: 275
CERTIFICATE OF SERVICE

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frve cnc Correek tory Ct Hw hewtin Conteuned “Metta tt Amend“

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Yiu Shime mM the ivishWHon mai/boy.

Clerk of tlawt
£00 Courthouse Ave
Nashutle, TennesSee 37302

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Case 3:14-cv-00623 Document 89 _ Filed 01/26/15 Page 6 of 6 PagelD #: 276
